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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH DAKOTA
                               WESTERN DIVISION


  UNITED STATES OF AMERICA,                          5:22-CR-50073-KES-1

                    Plaintiff,

        vs.                                    ORDER ADOPTING REPORT AND
                                              RECOMMENDATION AND DENYING
  ANTHONY WARD,                                    MOTION TO DISMISS

                    Defendant.


       Defendant, Anthony Ward, filed a pro se motion to dismiss the

 indictment, alleging it is a “defective charging document lacking subject matter

 jurisdiction which violate both his Fifth and Sixth Constitutional Rights as well

 as the Federal Common Law as well as Federal Rules of Criminal Procedure

 12(b)(1)-(2).” Docket 163 at 1. The United States opposed this motion. Docket

 170. Ward subsequently filed an additional motion to dismiss in which he

 again addressed the issues he raised in Docket 163 (see Docket 173) and filed

 a reply to the United States’ response (Docket 184). Ward’s motions were

 referred to United States Magistrate Daneta Wollmann for a report and

 recommendation under 28 U.S.C. § 636(b)(1)(B). Following an evidentiary

 hearing held on November 16, 2023, Magistrate Judge Wollmann issued a

 report recommending Ward’s motions be denied (Docket 195) and Ward timely

 objected to the Magistrate Judge’s report (Docket 229). After reviewing all of the

 parties’ submissions the court adopts Magistrate Judge Wollmann’s report and

 recommendation and addresses the issues Ward raises in his objections.

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                             STANDARD OF REVIEW

       This court’s review of a magistrate judge’s report and recommendation is

 governed by 28 U.S.C. § 636 and Rule 59 of the Federal Rules of Criminal

 Procedure. The court reviews de novo any objections to the magistrate judge’s

 recommendations with respect to dispositive matters that are timely made and

 specific. 28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b). Because motions to

 dismiss an indictment are considered dispositive matters, objections to a

 magistrate judge’s recommendation regarding such a motion are subject to de

 novo review. 28 U.S.C. § 636(b)(1). In conducting a de novo review, this court

 may then “accept, reject, or modify, in whole or in part, the findings or

 recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1); see

 also United States v. Craft, 30 F.3d 1044, 1045 (8th Cir. 1994).

                                   DISCUSSION

       Ward objects to Magistrate Judge Wollmann’s finding that the indictment

 is a sufficient charging document. Docket 229. Ward was indicted on April 21,

 2022, and charged with one count of Distribution of a Controlled Substance

 Resulting in Serious Bodily Injury, in violation of 21 U.S.C. §§ 841(a)(1),

 841(b)(1)(C), and 18 U.S.C. § 2, and one count of Conspiracy to Distribute a

 Controlled Substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and

 841(b)(1)(A). Docket 1. Ward argues that this indictment should be dismissed

 because the government has failed to provide sufficient evidence to prove

 various elements of the alleged offenses. Docket 229 at 2-9. Ward also argues

 that the indictment should be dismissed based on prosecutorial and

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 investigatory misconduct because incorrect or incomplete evidence was

 provided to the grand jury. Id. at 7-8.

 I.    Adequacy of the Indictment

       Magistrate Judge Wollman found the indictment “is sufficient[, because]

 it contains all of the essential elements of the offenses charged and fairly

 informs Ward of the charges against him, which he must defend [and]. . .

 provides enough detail to put Ward on notice of the charges against him,

 without being vague or indefinite.” Docket 195 at 5. Ward objects, arguing that

 the indictment is inadequate because (1) a doctor’s expert testimony or

 toxicology report is needed in order to prove an individual suffered a “serious

 bodily injury,” (2) there is no evidence that “CA and Mr. Young actually knew or

 know Mr. Ward” and “without that there is no conspiracy[,]” and (3) there is no

 evidence that Ward was present in South Dakota or in Colorado, as alleged in

 the indictment. The court addresses each of these objections in turn. See

 Docket 229.

       As an initial matter, “[a]n indictment is sufficient if it contains all of the

 essential elements of the offense charged, fairly informs the defendant of the

 charges against which he must defend, and alleges sufficient information to

 allow a defendant to plead a conviction or acquittal as a bar to a subsequent

 prosecution.” United States v. Summers, 137 F.3d 597, 601 (8th Cir. 1998)

 (internal quotation marks omitted). Put more simply, an indictment is adequate

 so long as its “language tracks the statutory language.” United States v. Sewell,

 513 F.3d 820, 821 (8th Cir. 2008). “In reviewing a [ ] motion to dismiss the

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 indictment, the Court does not entertain an evidentiary inquiry, but rather

 accepts the allegations of the [i]ndictment as true[.]” See United States v.

 Augustine Med., Inc., 2004 WL 256772, at *2 (D. Minn. Feb. 10, 2004) (citing

 United States v. Ferro, 252 F.3d 964, 968 (8th Cir. 2001) (internal citation

 omitted)). Thus, to withstand a motion to dismiss an indictment, the

 indictment need only allege Ward committed acts which, if proven, would

 constitute a violation of the law for which he has been charged. United States v.

 Polychron, 841 F.2d 833, 834 (8th Cir.1988).

       First, Ward argues the indictment should be dismissed as to Count 1,

 the Distribution of a Controlled Substance Resulting in Serious Bodily Injury.

 Docket 229 at 1-6. As Magistrate Judge Wollmann correctly noted in her report

 and recommendation, count 1 of the indictment mirrors the relevant statutory

 language for the crime Ward is charged. See Docket 195 at 4-5. Ward, however,

 maintains the count should be dismissed because “only a doctor can state or

 report to bodily injury because a doctor is a medical expert[]” and there was “no

 toxicology report to verify that K.S. actually suffered from an overdose from a

 pill (fentanyl).” Docket 229 at 2-3. Ward also argues “since there is no

 toxicology report[,] because K.S. refused treatment, there is no way for [him] to

 be placed on notice because it makes it impossible to defend.” Id. at 5.

 The court finds that Ward has been properly put on notice as to the conduct he

 is alleged to have committed. The questions relating to whether K.S. actually

 experienced an overdose and whether the overdose was the result of fentanyl is

 ultimately a “factual argument[] for the jury.” United States v. Hemme, 987 F.

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 Supp. 2d 940, 951 (D. Minn. 2013) (quoting United States v. Hunter, 2013 WL

 593413, at *2 (D. Minn. Feb. 14, 2013)). Ward’s arguments go to the sufficiency

 of the evidence, and “[u]nless the government has made what can fairly be

 described as a full proffer of the evidence it intends to present at trial[,] the

 sufficiency of the evidence is not appropriately addressed on a pretrial motion

 to dismiss an indictment.” Id. at 943 n.2 (quoting United States v. Perez, 575

 F.3d 164, 166–67 (2d Cir. 2009) (internal quotations and alterations omitted)).

 Thus, at this point, Ward’s factual arguments are premature.

       Next, Ward argues that the conspiracy charge in Count 2 the indictment

 should be dismissed because there is no evidence that Ward’s alleged co-

 conspirators “knew or know” him. Docket 229 at 8. At the indictment stage,

 however, the government is not required to irrefutably prove a conspiracy

 actually existed. See Ferro, 252 F.3d at 968. Instead, the indictment need only

 provide sufficient notice that Ward is alleged to have participated in a

 conspiracy by “knowingly and intentionally combin[ing], conspir[ing],

 confederat[ing], and agree[ing]. . . to knowingly and intentionally distribute”

 fentanyl. See Docket 1; United States v. Hayes, 574 F.3d 460, 472 (8th Cir.

 2009).

       In fact, the Eighth Circuit has upheld the sufficiency of an indictment

 alleging conspiracy to distribute a controlled substance even where the names

 of the alleged co-conspirators were not included in the document. See United

 States v. Huggans, 650 F.3d 1210, 1217-18 (8th Cir. 2011). In the specific

 context of a conspiracy allegation, “an indictment provides sufficient ‘specific

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 facts constituting the offense’ if it apprises the defendant of the time frame of

 the alleged drug conspiracy and the type of drugs involved.” Id. at 1218

 (holding that an indictment was sufficient to give notice of the alleged

 conspiracy, despite not naming the co-conspirators, because it specified a

 defined, seven-year period in which the conspiracy took place and explicitly

 noted the conspiracy was for the distribution of cocaine).

       Here, Ward’s indictment clearly states that the alleged conspiracy is

 claimed to have begun “on or about January 2022” and continued until “on or

 about the date of th[e] indictment, [April 21, 2022.]” Docket 1 at 1-2. Also, the

 indictment plainly advises Ward that he is charged with conspiring to

 distribute 400 grams or more of fentanyl specifically. Id. “In view of these

 limitations [and factual allegations, the court] cannot say that [Ward] could

 have failed to realize exactly what conduct the trial [would] concern[ ].” See id.

 Thus, the court finds the language in the indictment as adequate to put Ward

 on notice and Ward’s factual arguments relating to whether he actually knew

 his co-conspirators or participated in a conspiracy are premature. See Perez,

 575 F.3d at 166–67.

       Finally, Ward argues that the indictment should be dismissed because

 there is no evidence that he participated in a conspiracy in the State of South

 Dakota, and as a result the court lacks subject matter jurisdiction. Docket 229

 at 7-8. Specifically, Ward claims that “[i]t can’t even be proven that the

 defendant is being held for crimes that were committed in the State of South

 Dakota[.]” Id. at 8; see also id. at 7 (“The defendant’s presence is needed in this

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 state or in Colorado because that’s what the indictment states[,] however[,] the

 defendant was in neither state.” This argument, however, is also premature as

 it goes to the sufficiency of the evidence. Such an argument is proper only after

 the government has finished presenting evidence at trial, because, for purposes

 of an indictment, “[a] violation of federal law may be prosecuted ‘in any district

 in which such offense was begun, continued, or completed.’ ” United States v.

 Johnson, 462 F.3d 815, 819 (8th Cir. 2006) (quoting 18 U.S.C. § 3237(a)).

 “Furthermore, although separate proof of an overt act is not a necessary

 element of a drug conspiracy under 21 U.S.C. § 846, venue is proper in a

 conspiracy case in any jurisdiction in which an overt act in furtherance of the

 conspiracy was committed by any of the conspirators.” United States v.

 Morales, 445 F.3d 1081, 1084 (8th Cir. 2006) (quoting United States v. Romero,

 150 F.3d 821, 824 (8th Cir.1998) (internal quotations omitted)).

       Here, in the indictment, “the Government has alleged the overt acts

 occurred in the [District of South Dakota] and elsewhere. That is sufficient to

 allege venue in a conspiracy case.” United States v. Colee, 2008 WL 4183004,

 at *3 (E.D. Ark. Sept. 8, 2008). It is not until trial that the government is

 required to prove that any such acts actually occurred in South Dakota. See id.

 (“If the Government successfully proves at trial that any of the listed overt acts

 [relating to a conspiracy to distribute a controlled substance] occurred

 anywhere in this district, then venue will have been proper here.”). Thus, the

 court overrules Ward’s objection and finds the allegations in the indictment

 sufficient to establish the District of South Dakota as a proper venue. Ward’s

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 factual arguments regarding whether he was actually present in South Dakota

 are issues to be resolved at trial.

        Based on the foregoing, the court agrees with and adopts Judge

 Wollmann’s finding that the indictment is sufficient, as “it contains all of the

 essential elements of the offenses charged and fairly informs Ward of the

 charges against him, which he must defend. The indictment provides enough

 detail to put Ward on notice of the charges against him, without being vague or

 indefinite.” Docket 195 at 5.

 II.    Investigatory/Prosecutorial Misconduct

        Finally, Ward objects to the Magistrate Judge’s finding that Ward did not

 meet his burden in showing (1) the prosecution knew or should have known

 that some of the witnesses at the grand jury committed perjury and (2) there

 was a reasonable likelihood that the perjured testimony affected the grand

 jury’s decision. Docket 229 at 7-9.

        In his objections, Ward asserts that “[a]t the Grand Jury, Agent Whittle

 testifie[d] that ‘the defendant put two bags in the car,’ subsequently he state[d],

 ‘he also had a bag that was next to him.’ Yet there [are] pictures of only two

 bags.” Id. at 8. Ward also alleges that at the evidentiary hearing on November

 16, 2023, “Trooper Jackson testifie[d], ‘that were was a bunch of bags in that

 car[.]’ ” Id.

        Even assuming arguendo that these statements were indeed false, Ward

 would need to prove “(1) the prosecution used perjured testimony; (2) the

 prosecution should have known or actually knew of the perjury; and (3) there

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 was a reasonable likelihood that the perjured testimony could have affected the

 jury's verdict.” United States v. Bass, 478 F.3d 948, 951 (8th Cir. 2007)

 (quoting United States v. Funchess, 422 F.3d 698, 701 (8th Cir.2005)).

       The court agrees with Magistrate Judge Wollmann’s finding—Ward has

 failed to make such a showing. Ward has not offered any evidence that the

 prosecution knew these statements were false nor did he show the grand jury’s

 decision to indict hinged on the allegedly perjured testimony. Thus, the court

 overrules Ward’s objection.

                                  CONCLUSION

       Ward’s objections to the report and recommendations primarily focus on

 the sufficiency of the evidence that will ultimately be used to convict him, not

 the sufficiency of the indictment itself. The court finds the indictment adequate

 to put Ward on notice of the charges against him. Additionally, Ward has failed

 to show the prosecution knew the alleged perjured testimony provided at the

 grand jury was false and that such testimony affected the grand jury’s decision.

 Thus, it is

       ORDERED that the report and recommendation (Docket 195) is adopted

 in full, and Ward’s motions to dismiss the indictment (Docket 163, 173) are

 denied.

       Dated December 8, 2023.

                                       BY THE COURT:

                                       /s/ Karen E. Schreier
                                       KAREN E. SCHREIER
                                       UNITED STATES DISTRICT JUDGE

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